
Freeman brought an action below against Dixon, for selling liquor by small measure, under the act of Assembly. In this declaration, or state of demand, he goes for ten penalties, of ten dollars each, in the whole, S i00. The first was for selling by retail, one gill measure or glass of rum. The second specified one gill measure or glass of brandy, or spirituous liquor. The third for selling by retail, three gills, half gills, measures or glasses of rum, brandy, wine, or spirituous liquors, being three different quantities, under the quantity of one quart, &amp;c. The other charges were in the same manner, in the disjunctive. The jury found a general verdict for fifty dollars, on which, the Court [%] below rendered judgment. It was objected on the part of the plaintiff in error, first, that the declaration was vague and uncertain; that to enable the plaintiff below to maintain an action, he ought to have set out a specific and direct charge. And second, that the verdict and judgment ought to specify on which distinct charge or charges the verdict was founded; but that by this record the defendant below, was convicted of five penalties on no particular, or certain charges: — And the Court being of that opinion,
[Reversed the judgment.
